Case 5:16-cr-04080-LTS-KEM   Document 76   Filed 10/16/17   Page 1 of 7
Case 5:16-cr-04080-LTS-KEM   Document 76   Filed 10/16/17   Page 2 of 7
Case 5:16-cr-04080-LTS-KEM   Document 76   Filed 10/16/17   Page 3 of 7
Case 5:16-cr-04080-LTS-KEM   Document 76   Filed 10/16/17   Page 4 of 7
Case 5:16-cr-04080-LTS-KEM   Document 76   Filed 10/16/17   Page 5 of 7
Case 5:16-cr-04080-LTS-KEM   Document 76   Filed 10/16/17   Page 6 of 7
Case 5:16-cr-04080-LTS-KEM   Document 76   Filed 10/16/17   Page 7 of 7
